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                   EXHIBIT 1
                EXHIBIT 1 - CORRESPONDENCE
  Case 4:21-cv-00607-ALM                        FROM DEFENDANT'S
                            Document 53-1 Filed 04/24/23 Page 2 of 5 PageID #: 1445
                     COUNSEL; MEDIATOR'S PROPOSAL

Subject: RE: Harrison/Tyler - call
Date: Monday, November 14, 2022 at 4:30:37 PM Western European Standard Time
From: Brown, Amanda E.
To:      MaJhew Herrington, Charles R. Bridgers
CC:      McKeeby, Paulo B.

Matthew:

Based on our notes, the mediation ended with Plaintiff’s demand of $20k + briefing on fees in response to Tyler’s
offer of $8k + briefing on fees. The mediator then sent a mediator’s proposal of $25k for a global resolution. After
the mediator’s proposal expired, Tyler sent Plaintiff an offer of judgment for $15k + briefing on fees, which Plaintiff
rejected.

We also want to note that the impact of the SJ ruling on the potential recovery period will be a factor in Tyler’s
settlement evaluation. As you know, Plaintiff was in the IA role for 2/3 of the limitation period (assuming a 3 year
SOL).

We look forward to receiving Plaintiff’s demand.

Thanks,

Amanda E. Brown
aebrown@reedsmith.com
+1 469 680 4232 (Dallas)
+1 713 469 3822 (Houston)
+1 512 289 2351 (cell)
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4851 LBJ Freeway, Suite 220
Dallas, Texas 75244
214.534.1990

wpryor@willpryor.com
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January 10, 2022


Mediator’s Settlement Proposal:
Talia Harrison v. Tyler Technologies, Inc.


Matthew Harrington               via email matthew.herrington@dcbflegal.com
Delong Caldwell Bridgers

Amanda Brown                     via email aebrown@reedsmith.com
Reed Smith LLP



Dear Counsel:

       Thank you for your patience, professionalism and good humor during our
recent mediation. I regret that we were not successful in our efforts to resolve this
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matter. I thought it would do no harm to offer this proposal.

       Please respond by 5:00 pm (CST), tomorrow, January 11, 2022. Please
reply regardless of whether the response is positive or negative. If you need
additional time to respond, please let me know.

  You are guaranteed confidentiality. I do not disclose either response unless
                      both of the responses are “yes”.

      Very best wishes.

                                      Sincerely,




                                      Will Pryor
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                           Mediator’s Settlement Proposal

      Plaintiff agrees to accept, and Defendant agrees to pay, the total sum of
$25,000.00, in full and final settlement of all claims. Settlement proceeds to be
paid on or before January 28, 2022.

       All parties agree to preserve the confidentiality of the terms of the
settlement.

      Plaintiff will execute full, complete, and general release.

      All parties to bear their own attorney’s fees, costs and expenses.

      Pending litigation to be dismissed, with prejudice.

Responses:

_________ _________
Yes       No
     ___________________________
     Matthew Herrington, Counsel for Plaintiff

_________ _________
Yes       No
     ___________________________
     Amanda Brown, Counsel for Defendant
